     Case 2:19-cv-04237-SVW-PJW Document 22-3 Filed 07/15/19 Page 1 of 2 Page ID #:739



               1 RYAN M. LAPINE, ESQ. (Cal. Bar No. 239316)
                 rlapine@rmslaw.com
               2 JOSHUA H. HERR, ESQ. (Cal. Bar No. 301775)
                 jherr@rmslaw.com
               3 ROSENFELD, MEYER & SUSMAN LLP
                 232 North Canon Drive
               4 Beverly Hills, California 90210-5302
                 Telephone: (310) 858-7700
               5 Facsimile: (310) 860-2430
               6 Attorneys for Plaintiffs
                 NANO FOUNDATION, LTD. and
               7 COLIN LeMahieu
               8                     UNITED STATES DISTRICT COURT
               9                    CENTRAL DISTRICT OF CALIFORNIA
              10
              11 NANO FOUNDATION, LTD., a New ) Case No. 2:19-cv-04237 DDP (PJWx)
                 York non-profit corporation; and )
              12 COLIN LeMAHIEU, an individual,   ) DECLARATION OF PETER
                                                  ) SCOOLIDGE IN SUPPORT OF
              13            Plaintiffs,           ) PLAINTIFFS NANO
                                                  ) FOUNDATION, LTD. AND COLIN
              14       vs.                        ) LEMAHIEU'S OPPOSITION TO
                                                  ) DEFENDANT DAVID C. SILVER'S
              15 DAVID C. SILVER, an individual,  ) MOTION TO DISMISS
                                                  ) COMPLAINT
              16            Defendant.            )
                                                  ) Date: August 5, 2019
              17                                  ) Time: 1:30 p.m.
                                                  ) Judge: Hon. Stephen V. Wilson
              18                                  ) Ctrm: 10A - 10th Floor
                                                  )
              19                                  )
              20
              21
              22
              23
              24
              25
              26
              27
              28
LAW OFFICES
ROSENFELD,                                                1
 MEYER &
SUSMAN LLP                     DECLARATION OF PETER SCOOLIDGE IN SUPPORT OF PLAINTIFFS'
                   520558.01    OPPOSITION TO DEFENDANT'S MOTION TO DISMISS COMPLAINT
     Case 2:19-cv-04237-SVW-PJW Document 22-3 Filed 07/15/19 Page 2 of 2 Page ID #:740



               1                           DECLARATION OF PETER SCOOLIDGE
               2               I, PETER SCOOLIDGE, declare as follows:
               3               1.    I have personal knowledge of the facts set forth in this Declaration and,
               4 if called as a witness, could and would testify competently to such facts under oath.
               5 I was counsel to the defendants in Brola, et al v. Nano, et al., Eastern District of
               6 New York Case No. 1:18-cv-02049 (the "Brola Litigation"). I make this
               7 Declaration in support of Plaintiffs' Opposition To Defendant David C. Silver's
               8 Motion To Dismiss Complaint.
               9               2.    I attach hereto a true and correct copy of the Settlement Agreement
              10 entered into in the Brola Litigation. It contains a confidentiality clause. In the Brola
              11 Litigation, Silver was not, himself, a party. He represented only Alex Brola, an
              12 individual person.
              13               3.

              14
              15
              16
              17
              18
              19
              20               I declare under the penalty of perjury under the laws of the State of California
              21 that the foregoing is true and correct.
              22               Executed on July 15, 2019 at New York, New York.
              23
              24                                                       _______________________________
                                                                       PETER SCOOLIDGE
              25
              26
              27
              28
LAW OFFICES
ROSENFELD,                                                         2
 MEYER &
SUSMAN LLP                             DECLARATION OF PETER SCOOLIDGE IN SUPPORT OF PLAINTIFFS'
                   520558.01            OPPOSITION TO DEFENDANT'S MOTION TO DISMISS COMPLAINT
